Case 2:99-cr-00012    Document 1204   Filed 11/10/11   Page 1 of 3 PageID #: 4711



                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

UNITED STATES OF AMERICA

v.                                              CRIMINAL NO. 2:99-00012-03

ERIC DEWAYNE SPENCER


                 MEMORANDUM OPINION AND JUDGMENT ORDER

     Pending before the Court is Defendant's motion, brought

pursuant to 18 U.S.C. § 3582(c)(2), to reduce his sentence based

on a subsequent reduction in the applicable sentencing guideline.

(Doc. # 1201).       On November 1, 2010, pursuant to the Fair

Sentencing Act of 2010, the United States Sentencing Guidelines

were amended resulting in reductions in the guidelines in Section

2D1.1 for cocaine base.       These temporary, emergency amendments to

the Guidelines took effect on November 1, 2010.              Permanent

amendments implementing the Act were promulgated on April 6,

2011, with an effective date of November 1, 2011.              Subsequently,

the Sentencing Commission voted to give retroactive effect to the

permanent amendments.       Pursuant to a Standing Order entered on

October 7, 2011, this case was designated for Standard

consideration.

     The Court has received and considered the original

Presentence Investigation Report (PSI), original Judgment and

Commitment Order and Statement of Reasons, addendum to the PSI

received from the Probation Office, and any materials submitted
Case 2:99-cr-00012   Document 1204   Filed 11/10/11   Page 2 of 3 PageID #: 4712



by the parties on this issue.        The Court has also considered the

applicable factors under 18 U.S.C. § 3553(a), consistent with §

3582(c)(2), and public safety.

     The United States has indicated that it does not object to a

reduction in the defendant's sentence that is within the revised

guidelines range.

     Based on the foregoing considerations, defendant’s Motion is

GRANTED to the extent it seeks a sentence reduction.              The Court

ORDERS that Defendant’s base offense level be reduced by four

levels, resulting in a new total offense level of 34.              It is

further ORDERED that Defendant’s previous sentence be reduced to

168 months.    This Order is subject to the prohibition contained

within U.S.S.G. § 1B1.10(b)(2)(c).         Furthermore, in addition to

the conditions of supervised release previously imposed,

defendant will be required to serve 90 days in a community

confinement center as a special condition of supervised release.*

Defendant’s motion for expedited review is DENIED as moot.

     The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order, as well as the Order Regarding Motion

for Sentence Reduction (AO 247) filed this day, to defendant, the

Federal Public Defender, counsel of record, the United States



     *
       Defendant has conferred with Assistant Federal Public
Defender for the Southern District of West Virginia, Christian M.
Capece, and has waived his right to a hearing regarding the
proposed modification. That waiver was filed on November 7,
2011. See Doc. # 1201, Exhibit A.
Case 2:99-cr-00012   Document 1204   Filed 11/10/11   Page 3 of 3 PageID #: 4713



Marshal for the Southern District of West Virginia, and to the

United States Probation Office for forwarding to the Sentencing

Commission and Bureau of Prisons.

     It is SO ORDERED this 10th day of November, 2011.

                                           ENTER:


                                           David A. Faber
                                           Senior United States District Judge
